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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


*************************
BRIAN J. MEUSE,
                Plaintiff

                       v.                                     CIVIL ACTION NO.:
                                                                04-10255-EFH
SUSAN PANE, ET AL.,
                               Defendants.

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                                 ORDER OF DISMISSAL

                                         October 18, 2010

HARRINGTON, S.D.J.

       A review of the Court records in the above-entitled case indicates that Plaintiff’s counsel,

Barbara C. Johnson, was disbarred from the practice of law before this Court on June 16, 2009.

Plaintiff has since failed to seek new counsel and has taken no action to pursue his case.

Therefore, the Court dismisses said case for want of prosecution.

       SO ORDERED.


                                              /s/ Edward F. Harrington
                                              EDWARD F. HARRINGTON
                                              United States Senior District Judge
